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1                                 UNITED STATES DISTRICT COURT
2                              NORTHERN DISTRICT OF CALIFORNIA
3                                      SAN FRANCISCO DIVISION
4    META PLATFORMS, INC., a Delaware          )
5    corporation,                              )         Case Number: 3:20-CV-07182-JCS
                                               )
6           Plaintiff(s),                      )         APPLICATION FOR ADMISSION OF
                                               )         ATTORNEY PRO HAC VICE
7           v.                                 )         (CIVIL LOCAL RULE 11-3)
8                                              )
     BRANDTOTAL, LTD., an Israeli corporation, )
9    and UNIMANIA, INC., a Delaware            )
     corporation,                              )
10                                             )
11          Defendant(s).                      )

12          I, Brandon L. Boxler, an active member in good standing of the bar of the District of
13   Columbia, hereby respectfully apply for admission to practice pro hac vice in the Northern
14   District of California representing Plaintiff Meta Platforms, Inc., in the above-entitled action.
15   My local co-counsel in this case is Sonal N. Mehta, an attorney who is a member of the bar of
16   this Court in good standing and who maintains an office within the State of California. Local co-
17   counsel’s bar number is 222086.
18     MY ADDRESS OF RECORD:                      LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
19     Spencer LLP                                Wilmer Cutler Pickering Hale and Dorr LLP
       6802 Paragon Place, Suite 230              2600 El Camino Real, Suite 400
20     Richmond, VA 23230                         Palo Alto, CA 94306
       MY TELEPHONE # OF RECORD:                  LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
21     (804) 285-5236                             (650) 600-5051
22     MY EMAIL ADDRESS OF RECORD:                LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
       BBoxler@spencerllp.com                     Sonal.Mehta@wilmerhale.com
23
24          I am an active member in good standing of a United States Court or of the highest court

25   of another State or the District of Columbia, as indicated above; my bar number is 995319.

26          A true and correct copy of a certificate of good standing or equivalent official document

27   from said bar is attached to this application.

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1           I have been granted pro hac vice admission by the Court 0 times in the 12 months
2    preceding this application.
3           I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

4    the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution

5    Local Rules. I declare under penalty of perjury that the foregoing is true and correct.

6    Dated: February 17, 2022                                         /s/ Brandon L. Boxler     .
7                                                                          APPLICANT

8
9
                                   ORDER GRANTING APPLICATION
10
                           FOR ADMISSION OF ATTORNEY PRO HAC VICE
11
12          IT IS HEREBY ORDERED THAT the application of Brandon L. Boxler is granted,
13   subject to the terms and conditions of Civil L. R. 11-3. All papers filed by the attorney must
14   indicate appearance pro hac vice. Service of papers upon, and communication with, local co-
15   counsel designated in the application will constitute notice to the party.
16
17   Dated: ________________________
18
19
20                                         ______________________________________________

21                                         UNITED STATES DISTRICT/MAGISTRATE JUDGE

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                                                 Page 2 of 2
     PRO HAC VICE APPLICATION & ORDER
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  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



                     Brandon Lee Boxler
       was duly qualified and admitted on January 11, 2013 as an attorney and counselor entitled to
                   practice before this Court; and is, on the date indicated below, a(n)
                              ACTIVE member in good standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                       name and affixed the seal of this
                                                                            Court at the City of
                                                                       Washington, D.C., on February
                                                                                  16, 2022.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
